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 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        Case No. 1:15-cr-00284-DAD-BAM-1
12                      Plaintiff,
13          v.                                        STIPULATION AND ORDER TO
                                                      CONTINUE SENTENCING
14   MARIA MORA,
15                      Defendant.
16

17          TO:     THE UNITED STATES DISTRICT COURT; UNITED STATES

18                  ATTORNEY'S OFFICE and/or ITS REPRESENTATIVES:

19          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective

20   clients that the Sentencing hearing currently on calendar for April 10, 2017, at 10:00 a.m., be

21   continued to May 1, 2017, at 10:00 a.m., or as soon thereafter as is convenient to the court’s

22   calendar.

23          This continuance is requested by counsel for Attorney, MICHAEL AED, due to the

24   matters were advertently set on a date that the Attorney will be out of the country. Counsel has a

25   pre-planned, pre-paid vacation to San Felipe, Mexico. Counsel for Defendant has spoken with

26   Federal Probation Officer, Michael Armistead, and Assistant U. S. Attorney, Henry Z. Carbajal,

27   who has no objection to this continuance.

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     Case 1:15-cr-00284-DAD-BAM Document 52 Filed 02/09/17 Page 2 of 2


 1   The parties agree to exclude time based on further prep, investigation and negotiations etc.

 2   Dated: February 9, 2017                      /s/ Michael J. Aed
                                                  Michael J. Aed
 3                                                Attorney for Defendant
 4

 5   Dated: February 9, 2017.                     UNITED STATES ATTORNEY’S OFFICE
 6                                                /s/ Henry Z. Carbajal
                                                  Henry Z. Carbajal
 7
                                                  Assistant U.S. Attorney
 8

 9                                                ORDER

10          The Court has reviewed and considered the stipulation of the parties to continue the

11   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

12   defendant currently scheduled for April 10, 2017, is continued until May 1, 2017, at 10:00 a.m. in

13   Courtroom 5 before District Judge Dale A. Drozd.

14   IT IS SO ORDERED.
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        Dated:     February 9, 2017
16                                                        UNITED STATES DISTRICT JUDGE

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